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 5
   Counsel for Lead Plaintiff
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 7
 8                      UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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10
   JAMES ADIE, Individually and on
11 Behalf of All Others Similarly               Civil Action No. 5:18-cv-02537-JGB-SHK
12 Situated,
13                       Plaintiff,             NOTICE OF VOLUNTARY
14                                              DISMISSAL
                   v.
15
16 BLACK BOX CORPORATION,
   JOEL T. TRAMMELL, RICHARD
17 L.  CROUCH,    CYNTHIA    J.
18 COMPARIN, RICHARD C. ELIAS,
   THOMAS G. GREIG, AND JOHN S.
19 HELLER,
20
                Defendants.
21
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23
            Notice is hereby given that pursuant to Federal Rule of Civil Procedure
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      41(a)(1)(A)(i), Lead Plaintiff James Adie (“Plaintiff”) voluntary dismisses without
25
      prejudice the above-titled action against Defendants. Because this dismissal is being
26
      filed with the Court before service by Defendants of either an answer or a motion
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                                           1
                             NOTICE OF VOLUNTARY DISMISSAL
     Case 5:18-cv-02537-JGB-SHK Document 29 Filed 04/01/19 Page 2 of 2 Page ID #:112



 1 for summary judgement, Plaintiff’s dismissal of the Action is effective upon the
 2 filing of this notice. Each party hereto shall bear its own costs, fees, and expenses,
 3 including all attorney fees.
 4
 5
 6     DATED: April 1, 2019                      Respectfully submitted,

 7                                   /s/ David E. Bower
 8     OF COUNSEL                    David E. Bower SBN 119546
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16     Counsel for Lead Plaintiff

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                             NOTICE OF VOLUNTARY DISMISSAL
